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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                     Plaintiff,                )
                                               )                   8:09CR337
       vs.                                     )
                                               )                 TRIAL ORDER
DOUGLAS C. HOLLIBAUGH,                         )
                                               )
                     Defendant.                )

        This matter is before the court on the defendant's Motion for Extension of Time
Within Which to File Pretrial Motions (Doc. 19) for the reason that defendant has retained
substitute counsel. The defendant has been represented by retained counsel since the
time of his arraignment on September 28, 2009. Moving counsel entered his appearance
on October 16, 2009 knowing of the October 19, 2009 deadline for filing pretrial motions.
Under the circumstances, the defendant has not shown good cause for an extension of the
pretrial motion deadline.

       IT IS ORDERED:

       1. Defendant's Motion for Extension of Time Within Which to File Pretrial Motions
(Doc. 19) is denied.

        2. This case is scheduled for a jury trial before the Honorable Laurie Smith Camp,
District Court Judge, to begin Tuesday, November 17, 2009 at 9:00 a.m. in Courtroom No.
2, Third Floor, Roman L. Hruska United States Courthouse, 111 South 18th Plaza, Omaha,
Nebraska; because this is a criminal case, defendant(s) must be present in person.
Counsel will receive more specific information regarding the order of trial from Judge Smith
Camp's staff.

        3. Any motions for a continuance of this trial date shall be electronically filed no
later than November 3, 2009 and shall (a) set forth the reasons why the moving party
believes that the additional time should be allowed and (b) justify the additional time, citing
specific references to the appropriate section(s) of the Speedy Trial Act, 18 U.S.C. § 3161
et seq. Any defense motion for continuance shall be accompanied by a written affidavit
signed by the defendant in accordance with NECrimR 12.1.

      4. Counsel for the United States shall confer with defense counsel and, no later
than November 10, 2009, advise the court of the anticipated length of trial.
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       Pursuant to NECrimR 57.2, a party may appeal this order by filing a "Statement of
Appeal of Magistrate Judge's Order" no later than October 30, 2009. The party shall
specifically state the order or portion thereof appealed from and the basis of the appeal.
The appealing party shall file contemporaneously with the statement of appeal a brief
setting forth the party's arguments that the magistrate judge's order is clearly erroneous
or contrary to law. The filing of a statement of appeal does not automatically stay the
magistrate judge's order pending appeal. See NECrimR 57.2.

      DATED October 20, 2009.

                                         BY THE COURT:

                                         s/ F.A. Gossett
                                         United States Magistrate Judge




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